      Case 19-10120-JDW            Doc 60     Filed 02/14/23 Entered 02/14/23 15:19:11                Desc
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                          IN THE UNITED STATES BANKRUPTCY COURT
                           IN THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                       BANKRUPTCY NO: 19-10120-JDW
TONYA D WALTON
1198 HERNANDO ROAD

HOLLY SPRINGS, MS 38635-



                            NOTICE OF TRUSTEE’S MOTION TO DISMISS

         Should any party receiving this notice respond or object to said motion, such response or objection is
required to be filed on or before March 10, 2023, using the CM/ECF system or with the Clerk of this Court at
the following address:

                                        Shallanda J. Clay, Clerk of Court
                                            U. S. Bankruptcy Court
                                        Northern District of Mississippi
                                            703 Highway 145 North
                                              Aberdeen, MS 39730

        A copy of the response or objection must be served on the undersigned Chapter 13 Trustee. If no
responses or objections are filed, the Court may consider said motion immediately after the time has expired.
In the event a written response or objection is filed, the Court will notify you of the date, time and place of the
hearing thereon.

                                        CERTIFICATE OF SERVICE

         I, Locke D. Barkley, the Chapter 13 Trustee, do hereby certify that I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and I hereby certify that I either mailed by United States
Postal Service, first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other parties in
interest, if any, as identified below.

        Dated: February 14, 2023

                                                 LOCKE D. BARKLEY, TRUSTEE

                                                 /s/ Locke D. Barkley
                                                 Locke D. Barkley
                                                 Chapter 13 Trustee
                                                 6360 I-55 North, Suite 140
                                                 Jackson, MS 39211
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                         IN THE UNITED STATES BANKRUPTCY COURT
                          IN THE NORTHERN DISTRICT OF MISSISSIPPI
IN RE:                                                                       CHAPTER 13 CASE NO.

TONYA D WALTON                                                               19-10120-JDW

                                             MOTION TO DISMISS

          COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee), and files this Motion to
Dismiss (the “Motion”) and in support thereof states as follows:
          1.    As of February 10, 2023, the Debtor is delinquent in plan payments in the amount of
 $3,170.50 through February, 2023. Payments continue to accrue as required under the plan.
          2.    The Trustee submits that this case should be dismissed unless a responsive pleading is timely
 filed and/or unless the Debtor fails to fully cure all delinquency in the plan payments prior to the response
 deadline stated with the Notice.
          WHEREFORE, PREMISES CONSIDERED, the Trustee prays that this Court enter its order
 granting the Motion. The Trustee prays for other such general and specific relief as this Court may deem
 just.
DATED: February 14, 2023
                                                Respectfully submitted,
                                                LOCKE D. BARKLEY
                                                CHAPTER 13 TRUSTEE

                                        BY:     /s/ Locke D. Barkley
                                                Chapter 13 Trustee
                                                6360 I-55 North, Suite 140
                                                Jackson, Mississippi 39296


                                       CERTIFICATE OF SERVICE

         I, Locke D. Barkley, the Chapter 13 Trustee, do hereby certify that I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and I hereby certify that I either mailed by United States
Postal Service, first class, postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other parties in
interest, if any, as identified below.

DATED: 02/14/2023
                                                                        /s/ Locke D Barkley
                                                                        LOCKE D. BARKLEY
                                                                        CHAPTER 13 TRUSTEE
